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                                                                                                           E-FILED
                                                                            Monday, 10 May, 2021 03:22:18 PM
                                                                                Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

                                                   §
 UNITED STATES OF AMERICA                          §     Civil Action No. 18-04176
 ex rel. Danny Cavic,                              §
                                                   §
         Plaintiffs,                               §
                                                   §
 v.                                                §
                                                   §
                                                   §
 MAVEN ENGINEERING                                 §
 CORPORATION,                                      §
 KAVITA DAWSON, AND                                §
 ROBINSON MFG., INC                                §
                                                   §
         Defendants.                               §
                                                   §


                OPPOSED MOTION TO WITHDRAW REPRESENTATION
                     AND TERMINATE ELECTRONIC NOTICES

       Movants Joel M. Androphy of Berg & Androphy and Sarah Frazier of the Law Office of

Sarah Frazier, PLLC, counsel for Plaintiff-Relator Danny Cavic (“Relator”) in this case, move this

Court for an order granting their withdrawal from representation of Relator.

       On February 26, 2021, government attorneys indicated that they intended to recommend

that the United States decline to intervene in the case. On April 15, 2021, the same attorneys

indicated that they had filed a notice of declination and request to lift the seal pursuant to 31 U.S.C.

§ 3730(b)(4)(B) (ECF No. 10). On April 29, 2021, this Court ordered that this case be unsealed

and directed service upon Defendants (ECF No. 11).

       The Representation Agreement between Relator and undersigned counsel provides that

both firms may withdraw if the government declines intervention. Further, issues have arisen such

that professional considerations require termination of the representation.
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       Relator is aware of counsels’ intent to withdraw and the need to obtain new counsel in

order to proceed with a case of this type. The Government wishes to inform this Court that it

reserves its right to file a Statement of Interest in response to this motion to withdraw.

       Movants respectfully move the Court for an Order discharging them as attorneys of record

for Relator and request that Relator be given 90 days from the granting of this motion to find new

counsel and serve the defendants. Movants also request that the Clerk of this Court terminate

delivery of all notices to undersigned counsel in this case.


May 9, 2021                                           Respectfully submitted,


                                                      /s/ Joel M. Androphy
                                                      Joel M. Androphy
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                                                      Law Office of Sarah Frazier, PLLC
                                                      1919 Decatur St.
                                                      Houston, TX 77007
                                                      Email: sarah@sarahfrazierlaw.com

                                                      COUNSEL FOR RELATOR
                                                      DANNY CAVIC




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and complete copy of the foregoing document
was duly served through the ECF System on May 9, 2021.

        The undersigned hereby certifies that a true and complete copy of the foregoing document
was duly served on Relator via electronic mail on May 9, 2021 and that will also be sent via
certified mail, return receipt requested on May 10, 2021.




                                             /s/ Joel M. Androphy
                                            Joel M. Androphy




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